                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

  QUINCY PATRICK JONES,                           )
                                                  )
               Plaintiff,                         )
                                                  )
  v.                                              )            No.     2:20-CV-199-DCLC-CRW
                                                  )
  OFFICER DOMBERSKI, OFFICER                      )
  GILLIAM, and OFFICER NEELY,                     )
                                                  )
               Defendants.                        )

                                      JUDGMENT ORDER

       For the reasons set forth in the memorandum opinion filed herewith:

       1. Plaintiff’s motion for leave to proceed in forma pauperis [Doc. 4] is GRANTED;

       2. Plaintiff is ASSESSED the civil filing fee of $350.00;

       3. The custodian of Plaintiff’s inmate trust account is DIRECTED to submit the filing
          fee to the Clerk in the manner set forth in the accompanying memorandum opinion;

       4. The Clerk is DIRECTED to mail a copy of the memorandum opinion and this order to
          the custodian of inmate accounts at the institution where Plaintiff is now confined and
          to furnish a copy of this order to the Court’s financial deputy;

       5. Even liberally construing the complaint in favor of Plaintiff, it fails to state a claim
          upon which relief may be granted under § 1983;

       6. Accordingly, this action is DISMISSED pursuant to 28 U.S.C. §§ 1915(e)(2)(B) and
          1915(A);

       7.    Because the Court CERTIFIED in the memorandum opinion that any appeal from
            this order would not be taken in good faith, should Plaintiff file a notice of appeal, he
            is DENIED leave to appeal in forma pauperis. See 28 U.S.C. § 1915(a)(3); Fed. R.
            App. P. 24; and

       8. The Clerk is DIRECTED to close the file.

       SO ORDERED.

       ENTER:




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                                          s/Clifton L. Corker
                                          United States District Judge

 ENTERED AS A JUDGMENT

 __s/John Medearis__________
     CLERK OF COURT




                                      2

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